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 B 10 (Supplement 1) (12/11)


                               UNITED STATES BANKRUPTCY COURT
                                                        Western District of Texas
                                                         San Antonio Division

 In re Deno Lee Wood                                                                         Case No. 14-53016
       Mary L Wood
       Debtor(s)                                                                             Chapter 13

 Notice of Mortgage Payment Change

 If you file a claim secured by a security interest in the debtor’s principal residence provided for under the debtor’s plan pursuant to
 § 1322(b)(5), you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
 to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: WILMINGTON SAVINGS FUND SOCIETY, FSB,                              Court claim no. (if known): _______________
 NOT IN ITS INDIVIDUAL CAPACITY BUT SOLELY AS OWNER
 TRUSTEE FOR GFT MORTGAGE LOAN TRUST 2015-GFT1, BY FAY
 SERVICING, LLC, ITS SERVICING AGENT

 Last four digits of any number                                                       Date of payment change: April 1, 2015
 you use to identify the debtor’s
 account: 8673
                                                                                      New total payment: $762.63
                                                                                      Principal, interest, and escrow, if
                                                                                      any
 Part 1:Escrow Account Payment Adjustment
  Will there be a change in the debtor’s escrow account payment?

        No
        Yes. Attach a copy of the escrow account statement, prepared according to applicable non bankruptcy law. Describe the basis
           for the change. If a statement is not attached, explain why: See Attached

              Current escrow payment:       $ 177.74               New escrow payment:       $ 232.71

 Part 2:Mortgage Payment Adjustment
  Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s variable-rate
  note?

        No
        Yes. Attach a copy of the rate change notice, prepared according to applicable non bankruptcy law. Describe the basis for the
           change. If a notice is not attached, explain why: ______________________________________________________________

              Current interest rate   :     %               New interest rate:        %

              Current principal and interest payment: $   New Principal and interest payment: $


 Part 3: Other Payment Change
  Will there be a change in the debtor’s mortgage payment for a reason not listed above?

        No
        Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
           agreement. (Court approval may be required before the payment change can take effect.)

              Reason for change: __________________________________________________________________________________

              Current mortgage payment: $ ________________                        New mortgage payment:         $ _______________
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 Part 4: Sign Here

 The person completing this Notice must sign it. Sign and print your name and title, if any, and state your address and
 telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.

 Check the appropriate box.

  I am the creditor.       I am the creditor’s authorized agent.
                           (Attach copy of power of attorney, if any.)

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
 Information, and reasonable belief.



  /s/ Karrollanne Cayce                                                           .      Date February 19, 2015
     Signature

  Print:         Karrollanne Cayce                                             .          Title: Agent for Creditor
                  First Name           Middle Name             Last Name

  Company        Aldridge Connors LLP                                          .

                 Fifteen Piedmont Center
  Address        3575 Piedmont Road, N.E., Suite 500                           .
                  Number              Street

                 Atlanta                               GA            30305     .
                  City                                 State       Zip Code

 Contact phone 404-994-7400                                                  Email pmtchangeinquiry@aclawllp.com
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                          UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF TEXAS

 In re DENO LEE WOOD                                                Case No. 14-53016
       MARY L WOOD

                                      CERTIFICATE OF SERVICE

 I certify that I am over the age of 18 and that on February 19, 2015 a copy of the foregoing Notice of
 Mortgage Payment Change was served by (1) via electronic notice to parties who are ECF Filers and
 Consenting Users, (2) via electronic notice to ECF Filers and Consenting Users who represent parties,
 or (3) by first class U.S. Mail, with adequate postage prepaid on the following persons or entities at the
 addresses stated:

 The following Parties have been served via email:

 Jeffrey Rollins Davis         joshc@jeffdavislawfirm.com

 Deborah B. Langehennig        mschoppe@ch13austin.com


 The following parties have been served via U.S. Mail:

 Deno Lee Wood
 4091 Winter Sunrise
 San Antonio, TX 78244

 Mary L Wood
 4091 Winter Sunrise
 San Antonio, TX 78244



 Dated: February 19, 2015                              /s/ Karrollanne Cayce         .
                                                       Karrollanne Cayce
                                                       Agent for Creditor
                                                       Aldridge Connors, LLP
                                                       Fifteen Piedmont Center
                                                       3575 Piedmont Road, N.E., Suite 500
                                                       Atlanta, GA 30305
                                                       Phone: (404) 994-7400
                                                       Fax: (888) 873-6147
                                                       Email: pmtchangeinquiry@aclawllp.com
                                                                      Representation Of Printed Document
                                                    ESCROW ACCOUNT
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                                                                                                              DISCLOSURE STATEMENT
         PO Box 619063                                                                                 Loan Number:
         Dallas, TX 75261-9063                                                                         Analysis Date:                                    02/07/2015

                                                                                                      Customer Service
                                                                                                      Monday-Thursday 9:00 a.m. to 9:00 p.m. CT
                                                                                                      Friday            9:00 a.m. to 5:00 p.m. CT
                DENO L WOOD                                                                           Saturday         10:00 a.m. to 4:00 p.m. CT
                MARY L WOOD
                4091 WINTER SUNRISE DR                                                                                  PRESENT PAYMENT             NEW PAYMENT
                                                                                                                                                effective 04/01/2015
                SAN ANTONIO TX 78244-3257
                                                                                                      Principal & Interest           $529.92               $529.92
                                                                                                      Escrow Deposit                 $177.74               $232.71
                                                                                                      Optional Insurance               $0.00                 $0.00
                                                                                                      Other                            $0.00                 $0.00
                                                                                                      Subsidy                          $0.00                 $0.00
                                                                                                      Total                          $707.66               $762.63

                                                                            ESCROW ANALYSIS STATEMENT
     At least once every 12 months Fay Servicing analyzes your escrow account, in accordance with federal regulations, to ensure we collect sufficient funds to pay escrow items
     when they are due. The escrow account analysis below is an estimate of the activitythat will occur in your escrow account over the next 12 months. The analysis will show if you
     currently have a shortage or overage in your account. This amount will be accounted for in your new monthly escrow payment unless there is an overage amount over $50. In this
     case, the full amount of the overage will be refunded to you.

          UNDERSTANDING YOUR MONTHLY                                               PROJECTED ESCROW ACTIVITY FOR THE NEXT 12 MONTHS
            ESCROW PAYMENT AMOUNT                                               PAYMENTS   PAYMENTS                        PROJECTED                                   REQUIRED
                                                                   MONTH       TO ESCROW FROM ESCROW     DESCRIPTION        BALANCE                                    BALANCE
      1. Projected Monthly Escrow Payment                                                                                STARTING BALANCE                 303.86            910.74
      The section titled “Projected Escrow Activity for the Next   Apr-15           182.14                  .00                                           486.00            1,092.88
      12 Months” is a schedule that represents all anticipated     May-15           182.14                  .00                                           668.14            1,275.02
      payments to and from escrow for the coming year. First,
      we take the total of all Projected Payments from Escrow      Jun-15           182.14                  .00                                           850.28            1,457.16
      (a) and divide it equally over 12 months to determine        Jul-15           182.14             1,105.00          HOMEOWNERS I                      -72.58             534.30
      your Projected Monthly Escrow Payment: $2,185.72 / 12        Aug-15           182.14                  .00                                           109.56              716.44
      months = $182.14.                                            Sep-15           182.14                  .00                                           291.70              898.58
                                                                   Oct-15           182.14                  .00                                           473.84            1,080.72
      2. Escrow Surplus/Shortage                                   Nov-15           182.14                  .00                                           655.98            1,262.86
      The minimum escrow balance required in your account          Dec-15           182.14               622.30          COUNTY TAX                       215.82              822.70
      is known as the Required Low Point. This is noted as
      (b) under “Projected Escrow Activity for the Next 12
                                                                   Dec-15              .00               458.42          SCHOOL                      (c) -242.60          (b) 364.28
      Months”. The Required Low Point is set in accordance         Jan-16           182.14                  .00                                            -60.46             546.42
      with your mortgage contract, state law or federal law.       Feb-16           182.14                  .00                                           121.68              728.56
      Mortgage Insurance, if any, is not included in the           Mar-16           182.14                  .00                                           303.82              910.70
      Required Low Point calculation. Next, we compare the
      Projected Low Point (c) to the Required Low Point (b) to     TOTAL        $2,185.68       (a) $2,185.72
      determine the overage/surplus:

      You have a shortage of $606.88 because the Projected
      Low Point of -$242.60 is less than the Required Low
      Point (b) of $364.28.
      The shortage is divided evenly over the next 12 months
      and added to your Projected Monthly Escrow Payment.



      3. New Monthly Escrow Payment
      Monthly Escrow Payment:    $232.71
      Effective Date            04/01/2015




                                                                            IMPORTANT MESSAGES
     Fay Servicing is a debt collector and information you provide to us will be used for that purpose. To the extent your original obligation
     was discharged, or is subject to an automatic stay under the United States Bankruptcy Code, this is being provided for informational
     purposes only and does not constitute an attempt to collect a debt or impose personal liability. NMLS ID



                                                                                 DETACH COUPON HERE

                                                                              ESCROW PAYMENT COUPON

                                               DENO L WOOD                                                                                Account Number:

                                                                             Make checks payable to Fay Servicing




                                                                                                                                                      Escrow Shortage Payment


      FAY SERVICING
      P.O. BOX 809441
                                                                                                                      Total Amount Enclosed $                                  .
      CHICAGO, IL 60680-9441




                                                                               Internet Reprint
                                             ESCROW ACCOUNT DISCLOSURE STATEMENT
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       Loan Number:                          02/19/15
                                         ACCOUNT HISTORY 14:24:17 Main Document        Pg 5 of 5
                                                                           Date: 02/07/2015

        This is a statement of actual activity in your escrow account from 04/01/2014 through 03/01/2015. This section provides
        last year’s projections and compares it with actual activity.
        An asterisk (*) indicates a difference from a previous estimate either in the date or amount and may be caused by any of
        the following:
        • The actual amount of insurance or taxes paid since your last Escrow Analysis Statement was higher or lower than
             anticipated
        • Additional funds were applied to your escrow account
        • The time elapsed between payments to escrow and disbursement from escrow was shorter or longer than anticipated
             on your last Escrow Analysis Statement.

                              PAYMENTS                    DISBURSEMENTS                                     ESCROW BALANCE
        MONTH           PROJECTED      ACTUAL          PROJECTED      ACTUAL             DESCRIPTION      PROJECTED     ACTUAL

                                                                                      BEGINNING BALANCE      888.79      1,532.47
        04/14              177.74       425.18                                                             1,066.53      1,957.65
        05/14              177.74       177.74 *                         661.31       COUNTY TAX           1,244.27      1,474.08
        06/14              177.74       177.74 *                       1,105.00       HOMEOWNERS I         1,422.01        546.82
        07/14              177.74       177.74 *        1,105.00                      HOMEOWNERS I           494.75        724.56
        07/14                                  *                        584.16        SCHOOL                 494.75        140.40
        08/14              177.74       177.74                                                               672.49        318.14
        09/14              177.74       177.74                                                               850.23        495.88
        10/14              177.74       177.74                                                             1,027.97        673.62
        11/14              177.74       177.74                                                             1,205.71        851.36
        12/14              177.74       177.74 *          599.76        622.30        COUNTY TAX             783.69        406.80
        12/14                                  *          428.21        458.42        SCHOOL                 355.48 <       -51.62 <
        01/15              177.74                                                                            533.22         -51.62
        02/15              177.74       177.74     E                              E                          710.96        126.12
        03/15              177.74       177.74     E                              E                          888.70        303.86

        TOTAL           $2,132.88    $2,202.58         $2,132.97     $3,431.19
